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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                          No. 18-08363MJ-001-PHX-JZB
10                  Plaintiff,                          ORDER
11   v.                                                 [SEALED]
12   Thomas William Hancock,
13                  Defendant.
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16            Based upon the United States’ Motion to Revoke Release (Doc. 9), which the
17   Court will treat as an Appeal from Magistrate Judge Release Order,
18            IT IS ORDERED staying the Order of Release issued by the Honorable Alexander
19   F. MacKinnon, U.S. Magistrate Judge in the Central District of California in Case No.
20   18-2372M, until such time as a hearing can be held before Chief Judge G. Murray Snow.
21            IT IS FURTHER ORDERED setting a hearing for 10/10/18 at 11:00 a.m., before
22   Chief Judge G. Murray Snow, in Courtroom 602, Phoenix, Arizona.
23            No excludable delay shall occur from the entry of this Order.
24            Dated this 26th day of September, 2018.
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28   cc: Magistrate Judge MacKinnon, C.D. California, AUSA, Dft. Atty., USMS
